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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              COVINGTON DIVISION

CIVIL ACTION NO. 04-207-JBC
CRIMINAL ACTION NO. 99-33-JBC

UNITED STATES OF AMERICA,                                                    PLAINTIFF,

V.                     MEMORANDUM OPINION AND ORDER

RANDALL E. COPE,                                                           DEFENDANT.

                                * * * * * * * * * * *
      This case, in w hich the defendant and his brother w ere convicted of plotting

murder-for-hire, is before the court on defendant Randall Cope’ s objection to the

magistrate judge’ s recommendation to deny his motion under 28 U.S.C. § 2255.

The defendant argues that his conviction is tainted due to ineffective assistance of

counsel and prosecutorial misconduct. Should the court deny his § 2255 motion, he

seeks a certificate of appealability. The court, having review ed the matter de novo

in light of the petitioner’ s objections, w ill accept the report and recommendation,

w ill deny the § 2255 motion, and w ill not issue a certificate of appealabilit y. To the

extent that the defendant does not object to the report and recommendation, the

court concurs in the result recommenced by the magistrate judge. Thomas v. Arn,

474 U.S. 140 (1985).

Facts and Procedural Background

      The facts and procedural history of this case are set out in the Sixth Circuit’ s

opinion affirming the conviction of Randall Cope and his brother, Terry Wayne Cope

(“ Terry” ). United States v Cope, 312 F.3d 757, 764-67 (6th Cir. 2002).

Ineffective assistance of counsel
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      A trial is presumed unfair w here the defendant w as denied counsel at a

critical stage or w here counsel completely failed to “ subject the prosecution’ s case

to meaningful adversarial testing.” United States v. Cronic, 466 U.S. 648, 658-62

(1984). Absent error of this magnitude, an extremely deferential standard of review

applies to all ineffective-assistance-of-counsel claims. Strickland v. Washington,

466 U.S. 668 (1984); West v. Seabold, 73 F.3d 81, 84 (6th Cir. 1996). There is a

strong presumption that counsel’ s conduct fell w ell w ithin the w ide range of

reasonable professional assistance. Strickland, 466 U.S. at 689. Counsel is

constitutionally ineffective if the representation fell below “ an objective standard of

reasonableness” and there is a “ reasonable probability” that, but for counsel’ s

impotence, the result w ould have been different. Id. at 694. Counsel’ s performance

must have caused the defendant “ to lose w hat he otherw ise probably w ould have

w on.” West, 73 F.3d at 84. “ [T]he determinative issue is not w hether petitioner' s

counsel w as ineffective but w hether he w as so thoroughly ineffective that defeat

w as snatched from the jaw s of victory.” Id. In his objections to the magistrate’ s

report and recommendation, the defendant argues that he received ineffective

assistance of counsel on seven occasions.

1.    Conceding guilt during the closing argument

      The right to effective assistance of counsel extends to closing argument.

Yarborough v. Gentry, 540 U.S. 1, 5-6 (2003). How ever, “ counsel has w ide

latitude in deciding how best to represent a client, and deference to counsel’ s

tactical decisions in his closing presentation is particularly important because of the

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broad range of legitimate defense strategy at that stage.” Id. Therefore, “ judicial

review of a defense attorney' s summation is . . . highly deferential – and doubly

deferential w hen it is conducted through the lens of federal habeas.” Id.

      The defendant argues that his attorney conceded guilt during closing

argument in three instances, and that counsel’ s statements w ere so prejudicial as

to constitute a failure to subject the prosecution’ s case to meaningful adversarial

testing under Cronic, 466 U.S. at 659. First, the defendant objects to counsel

saying,

             I talked to the prosecutors about this thing on many – this case
             on many occasions. And I told them, you know , I’ m not going to
             get a fair trial, I’ m going to get a – strike that. No disrespect to
             the Court. I’ m going to get a fair trial, but it ’ s going t o be a trial
             that’ s so overw rought w ith prejudice, because of w hat occurred
             here, that nobody in their right mind could acquit these people. I
             know that. And they shouldn’ t be acquitted of some things,
             perhaps. (DE 201).

      Second, he objects to counsel saying,

             There w as a shooting on 1-22 of ‘ 00. There is virtually no
             question about it. Did Randy Cope participate in it? Did he aid and
             abet Terry Cope to do it? There is no proof of t hat. Could you
             convict him? Absolutely. You folks have the pow er. You’ ve got
             much more pow er than Her Honor. You’ ve got much more pow er
             than those tw o U.S. Attorneys there. But you have the pow er to
             decide. As Mr. How e said, you’ ve got the pow er to vote back
             there. Could you convict him of it? There is no question. Did he do
             it? Probably not. That scares me.

      Finally, he objects to counsel saying,

             The offense occurs w hen you take it to the next level and you
             actively participate and you do something to kill somebody, as w as
             done in this case, but, how ever, not to David Bunning.


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       Counsel’ s first challenged statement is an appeal to the jury for fairness.

Indeed, the four paragraphs immediately preceding this statement talk about duty

and patriotism. Also, immediately afterw ards, counsel says, “ But the issue is, can

you follow your duty and give these people a fair trial? And that’ s all w e w ant.”

The Sixth Circuit has held that an appeal for a fair trial does not constitute

ineffective assistance of counsel. Campbell v. United States, 364 F.3d 727, 733

(6th Cir. 2004) (statement that “ if your verdict ultimately is guilty, so be it; it’ s

guilty. That’ s w hat our system is about,” w as not improper). The statement that

“ they shouldn’ t be acquitted of some things, perhaps” is not a direct admission of

guilt, nor does it fail to subject the prosecution’ s case to meaningful adversarial

testing. Rather, it is an acknow ledgment that, w hile the defendant behaved

reprehensibly, he w as not criminally liable because of government entrapment. See

Valenzuela v. U.S., 2005 WL 1355100, slip. op. (E.D. Mich 2005) (limited

admission for purposes of advancing defense of entrapment is permissible).

       Counsel’ s second challenged statement recognizes that the jury has the

pow er to convict or to acquit the defendant, and argues that there is no proof to

support a conviction. The phrase “ that scares me,” does not concede guilt, but is

part of a larger colloquy discussing the jury’ s pow er to render a verdict. Nor does

counsel’ s third statement admit guilt. In this section of the closing argument,

counsel argues that it is not a crime to dislike someone or w ish that they w ere

dead, but that the crime occurs w hen you actually try to kill someone. How ever,

counsel concludes, there is no proof that the defendant tried to kill David Bunning.

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While counsel’ s eloquence may not have met the defendant’ s standards, it w as not

constitutionally deficient. See Campbell, 364 U.S. at 733.

2.    Failure to interview the defendant’ s mother before her death

      The defendant argues that counsel erred by failing to interview his mother

before her death, and that she could have testified that no guns w ere ever removed

from her house.

      The defendant’ s father, Wayne Cope, testified that he permitted Terry access

to his guns and believed that Terry had taken a gun around the time of the

shooting. Tw o secret service agents corroborated this testimony. Speculation about

Ms. Cope’ s testimony does not establish a reasonable probabilit y that the result of

the proceeding w ould have been different. How ever, even if Ms. Cope testified as

the defendant suggests she w ould have, it is not reasonably probable that the

result w ould have been different in light of the evidence from Wayne Cope.

3.    Failure to move to suppress evidence seized from the truck

      Despite joining in his brother’ s motion to suppress evidence seized from the

truck, the defendant believes that his attorney should have raised additional

arguments during the suppression hearing. Specifically, the defendant’ s attorney

should have argued that Terry did not have authority to consent to the police

search of the defendant’ s truck, that the search violated the defendant’ s Fourth

Amendment rights, and that evidence from that search could not be used against

the defendant. How ever, on direct appeal, the Sixth Circuit held that the search of

the truck w as valid under the automobile exception. Cope, 312 F.3d at 774-75.

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Therefore, even if the defendant’ s attorney had raised additional arguments at the

suppression hearing, they w ould have been futile. The automobile exception made

the search legal notw ithstanding Terry’ s purported lack of authority to consent to a

search, and the evidence w as properly admitted against the defendant. 1

4.    Failure to move to recuse the United States Attorney’ s Office

      The defendant argues that because David Bunning, an alleged target in the

murder-for-hire plot, w as an Assistant U.S. Attorney, the entire office should have

been recused to limit the possibility of prosecutorial bias. Disqualification of an

entire U.S. Attorney’ s office is unprecedented. E.g., United States v. Caggiano,

660 F.2d 184, 190-91 (6th Cir. 1982) (it w as error for the district court to recuse

the entire United States Attorney’ s office w here one prosecutor had previously

represented the defendant); United States v. Bolden, 353 F.3d 870, 879 (10th Cir.

2003) (disqualification of the entire office is reversible error); United States v.

Whitaker, 268 F.3d 185 (3d Cir. 2001); In re Grand Jury Proceedings, 700 F.

Supp. 626, 630-31 (D. P.R. 1988) (allegations that the entire office had a


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         Terry’ s actual authority to consent to a search also w eighs against the
defendant. “ [T]he consent of one w ho possesses common authority over the
premises or effects is valid as against the absent, non-consenting person w ith
w hom that authority is shared.” United States v. Matlock, 415 U.S. 164, 170
(1974). Common authority requires the “ mutual use of the property by persons
generally having joint access or control for most purposes.” Id. at 171. A search is
valid w here the facts available to the officer “ justify a man of reasonable caution in
the belief” that the consenting party had authority to consent. Because Terry had a
key to the truck, had gotten in and started it, and had some personal items in it, the
arresting officer had a reasonable belief that Terry had authority to consent to a
search. His actual authority w as irrelevant in determining the legality of the search.
See id.

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disqualifying emotional stake in the outcome stretched the concept of intra-office

loyalty to its breaking point). Given that precedent disfavors recusal of an entire

U.S. Attorney’ s office, the defendant’ s attorney did not err by failing to move for

recusal. Nor is there any indication that the prosecuting attorneys w ere motivated

by a desire for revenge, or that the results w ould have been different but for

counsel’ s failure to move for recusal of the U.S. Attorney’ s office.

5.    Failure to object to prosecutorial misconduct

      The defendant contends that his attorney should have objected to the

prosecutor’ s demonstrative aids, including a pow er point presentation featuring

AUSA Bunning and the firearms allegedly used in the commission of the crimes.

Even if the defendant’ s attorney erred by not objecting to the prosecutor’ s use of

these aids, no prejudice resulted. Regarding the slide show , the defendant w as

acquitted of conspiring to kill AUSA Bunning and, therefore, w as not prejudiced by

it. See Cope, 312 F.3d at 778-79 (Terry not prejudiced by slide show as he w as

acquitted of killing Bunning). Regarding the firearms, the Sixth Circuit affirmed their

introduction at trial over the objection of Terry Wayne Cope, a co-defendant. Id. at

775-76. Therefore, even had counsel objected to the demonstrative aids, it is not

reasonably probable that the ultimate result w ould have been different.

6.    Failure to request funds to make use of a ballistics expert

      Despite that his co-defendant had retained a ballistics expert, the defendant




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argues that his attorney should have hired his ow n expert. 2 The ballistics evidence

w as not the strongest evidence presented at trial. Indeed, the Sixth Circuit did not

mention it w hen review ing the sufficiency of the evidence on direct appeal. Cope,

312 F.3d at 767-68. Both defense attorneys conducted a highly effective cross-

examination of the prosecution’ s expert, forcing him to admit that it w as nearly

impossible to link either defendant to the bullets found at the crime scene.

Therefore, even if counsel had called his ow n ballistics expert, it is not reasonably

probable that the results w ould have been different. E.g. Riley v. Wainw right, 778

F.2d 1544, 1549 (11th Cir. 1985) (no error in failing to retain defense ballistics

expert given effective cross-examination of prosecution’ s expert); Hughes v. United

States, 241 F. Supp. 2d 148, 157 (D.R.I. 2003) (failure to call firearms expert not

unreasonable w here expert’ s opinion w ould have added nothing to concessions

from government’ s expert).

7.    Failure to object to sentencing enhancements

      The defendant argues that his attorney should have objected to the

sentencing enhancement under 18 U.S.C. § 924(c). The court sentenced the

defendant to 240 months on this count because of the presence of an additional

victim during the shooting. How ever, this additional victim w as not named in the

indictment and there w as no jury finding as to her. Therefore, according to the

defendant, the enhancement w as unconstitutional under United States v. Booker,


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        For various reasons, the defense ballistics expert w as unable to analyze the
firearms before the trial, and did not testify.

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125 S.Ct. 738 (2005), and counsel erred by failing to object to it. The defendant

also argues that the § 924(c) enhancement violated double jeopardy because he

w as already convicted of aiding and abetting retaliation or intimidation of a w itness

by shooting. Defense counsel’ s failure to object on these grounds is not ineffective

assistance of counsel.

      During the trial, applicable case law w as not so clear as to make it obvious to

appellate counsel to advance the Booker argument. See, e.g., McMillan v.

Pennsylvania, 477 U.S. 79 (holding that any fact that increases the statutory

minimum sentence is a traditional sentencing factor to be w eighed by the judge,

not an element of the offense to be proven beyond a reasonable doubt by a jury). It

w as not until after the defendant’ s sentencing that the Supreme Court issued

opinions that w ould have benefitted him. See Blakley v. Washington, 542 U.S. 296

(2004). That the counsel did not anticipate Blakley and present an analogous

argument at sentencing does not mean that the petitioner suffered from ineffective

assistance of counsel. Counsel is not required to anticipate the logic that the

Supreme Court applies to future cases. Fuller v. United States, 398 F.3d 644, 651

n.4 (7th Cir. 2005). See also United States v. Burgess, 2005 WL 1515327 (6th

Cir. 2005). Nor, under then-applicable law , did the court err in enhancing the

defendant’ s sentence, as the record contained enough information to support the

court’ s consideration of the uncharged victim. Also, retaliation and intimidation of a

w itness is a separate and distinct crime from the § 924(c) offense, refuting the

defendant’ s double jeopardy argument.

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Prosecutorial Misconduct

      The defendant argues that the United States failed to disclose exculpatory

evidence and that it made improper opinion statements regarding his guilt. The

court does not credit these arguments.

1.    Failure to disclose exculpatory evidence

      The government must disclose exculpatory evidence to the defendant on

request. Brady v. State of Maryland, 373 U.S. 83, 87-88 (1963); Giglio v. United

States, 405 U.S. 150 (1972). The government has a duty to discover exculpatory

evidence know n to anyone acting on its behalf. Strickler v. Greene, 527 U.S. 263,

280-81 (1999). How ever, a prosecutor has no obligation to discover potentially

exculpatory evidence that it does not possess and of w hich it is not aw are. United

States v. Flores, 135 F.3d 1000, 1006 (5th Cir. 1998). Mr. Sheppard testified for

the prosecution concerning conversations he had w ith the defendants and their

father about the murder-for-hire plot. Follow ing the trial, Sheppard w as indicted on

federal firearms charges in the Western District of Kentucky. The defendant argues

that the United States w rongfully w ithheld the fact that Mr. Sheppard w as under

investigation w hen he testified during trial.

      In Giglio, the United States Supreme Court held that the government erred

for failing to disclose to the defendant that it had promised a key w itness that he

w ould not be prosecuted if he testified for the government. Giglio, 405 U.S. at

151. Without the w itness’ testimony, “ there w ould have been no indictment and

no evidence to carry the case to the jury.” Id. at 154. Because the w itness’

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testimony, and therefore his credibility, w ere critical to the case, the prosecution

erred by failing to inform the defendant about the deal, w hich could have

undermined the w itness’ credibility in front of the jury. Id.

      Unlike Giglio, in this case there is no indication that the prosecutors in the

Eastern District of Kentucky knew that Sheppard might be indicted in the Western

District of Kentucky. The United States has filed pleadings to this effect (DE 264,

265). Nor has the defendant offered any evidence suggesting that the government

made a deal w ith Sheppard and then failed to disclose its existence.

Notw ithstanding the government’ s filings, the defendant argues that “ the

Government most likely does a background check on w itnesses w ho it calls to

testify and [information related to the investigation] w ould have surfaced at that

time.” This mere allegation is not evidence that the government knew of the

investigation or that Sheppard had made a deal w ith the government.

      The defendant also seeks to conduct discovery to see w hether the

government knew of the investigation, or w hether it offered incentives to other

cooperating w itnesses. How ever, all of the w itnesses, including Sheppard, w ere

cross-examined, and the defendant had the opportunity to explore their motives for

testifying. The speculative assertion that the prosecutor may have w ithheld

unspecified incentives, or that the government might have know n of the

investigation, is insufficient to require this court to grant an evidentiary hearing. Hill

v. Johnson, 210 F.3d 481, 487-88 (5th Cir. 2000).

2.    Improper opinion statements about the defendant’ s guilt.

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       The defendant objects to the prosecutor’ s closing arguments, arguing that it

contained an improper opinion statement regarding the defendant’ s guilt. The

prosecutor stated:

          But members of the jury, the proof in this case, I submit to you, is
          absolutely overw helming. You w ill never find a stronger case w here
          tw o brothers, bent on rage, bent on retribution, bent on murder,
          engaged in a concerted action to try to get four people killed.

       By failing to raise this issue on direct appeal, the defendant w aived his right

to raise it on this motion. Notw ithstanding this failure, the defendant’ s claims are

w ithout merit, as the prosecutor’ s comments w ere not improper. Compare Wilson

v. Mitchell, 250 F.3d 388, 398 (6th Cir. 2001) (statement that government has

met its burden of proof is improper) w ith United States v. Drake, 885 F.2d 323,

323-24 (comments that the evidence is “ overw helming . . . unrebbutted and . . .

consistent” is proper as the government is permitted to comment on the strength of

its proof); Wilson v. Grant, 877 F. Supp. 380 (E.D. Mich 1995). Similarly, in the

context of the lengthy closing statement, the remarks w ere isolated and not

prejudicial to the defendant. E.g. United States v. Fullerton, 187 F.3d 587, 592

(6th Cir. 1999) (admission of flagrant comment w as harmless error); Lundy v.

Campbell, 888 F.2d 467, 479-80 (6th Cir. 1989) (isolated comments in six-page

trial transcript are not prejudicial).

Certificate of Appealability

       As reasonable-minded jurists could not disagree as to the outcome of this

matter, the court w ill not issue a certificate of appealability. Miller-El v. Cockrell,


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537 U.S. 322 (2003); Slack v. McDaniel, 529 U.S. 473 (2000); Witham v. United

States, 355 F.3d 501, 504 (6th Cir. 2004). Accordingly,

      IT IS ORDERED that the magistrate judge’ s report and recommendation (DE

293) is ADOPTED.

      IT IS FURTHER ORDERED that the defendant’ s motion for relief under § 2255

(DE 239) is DENIED. The court w ill not issue a certificate of appealability.




        Signed on January 24, 2006




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